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              EXHIBIT C
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From:                             Lauren Nowierski
Sent:                             Thursday, August 29, 2013 3:14 PM
To:                               dmathiowetz@schiffhardin.com
Cc:                               Edward Terchunian; Justin Wilcox
Subject:                          ASUSTek Computer Inc. v. Round Rock Research, LLC, Civ. A. No. 3:12-2099-JST (N.D.
                                  Cal.) - Subpoena to PixArt Imaging (USA), Inc.
Attachments:                      2013 01 15 Ltr from Mathiowetz to Nowierski.pdf


Duane:

We spoke quite some time ago regarding Round Rock’s subpoena on PixArt Imaging (USA) in the above referenced
matter. I have attached our previous correspondence for your convenience. As this case has progressed, I am
interested in understanding a bit more about your response to our subpoena.

Please let me know if you have any time over the next week to briefly touch base.

Kind regards,
Lauren

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